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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

                            Case No. 17-cv-774-J-32MCR

 Commodity Futures Trading Commission,

         Plaintiff,

 v.

 Jason B. Scharf (d/b/a Citrades.com and
 AutoTradingBinary.com); CIT Investments
 LLC; Brevspand EOOD; CIT Investments
 Ltd; A&J Media Partners, Inc.; Michael
 Shah; and Zilmil, Inc.,

       Defendants.
 ______________________________________________/


      NOTICE OF CORRECTION OF SCRIVINER’S ERRORS IN RECEIVER’S
          TENTH STATUS REPORT AND TENTH FEE APPLICATION

         Kenneth Dante Murena, the court-appointed Permanent Receiver (the

 “Receiver”) in the above-captioned enforcement action, notifies the Court of a

 scrivener’s error in his Tenth Status Report [ECF No. 319] and Tenth Fee Application

 [ECF No. 320]. On page 17 of the Tenth Status Report and page 6 of the Tenth Fee

 Application, the Receiver indicated that the total amount of funds in the Receiver’s

 fiduciary account at the end of the Reporting Period was $10,530,317.78. ECF No.

 319 at p. 17. In fact, that figure should be $10,160,556.43, 1 as was reflected on the


 1
  This figure reflects the total amount of funds in the Receiver’s fiduciary account
 maintained at East West Bank as of the end of the Reporting Period (December 31,
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 Reconciliation of Receipts and Disbursements of Receivership Accounts, attached to

 the Tenth Status Report and the Tenth Fee Application as Exhibit A. ECF No. 319-1

 and 320-1 at p. 2.


        Respectfully submitted this 8th day of February, 2021.


                                                  /s/Kenneth Dante Murena______
                                                  Kenneth Dante Murena, Esq.
                                                  Court-Appointed Receiver
                                                  Florida Bar No. 147486
                                                  DAMIAN & VALORI, LLP
                                                  1000 Brickell Avenue, Suite 1020
                                                  Miami, Florida 33131
                                                  Telephone: (305) 371-3960
                                                  Facsimile: (305) 371-3965
                                                  Email: kmurena@dvllp.com


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on this 8th day of February, 2021, I electronically

 filed the foregoing Notice with the Court using the CM/ECF system, which provides

 notice of the filing upon all counsel of record and parties who have appeared in this

 case and are registered to receive electronic notice of all court filings.

                                                  /s/ Kenneth Dante Murena
                                                  Kenneth Dante Murena,
                                                  Court-Appointed Receiver


 2020), including interest earned, after payment of the Court-approved administrative
 expenses of the Estate for the first through the ninth reporting/application periods.
 As explained on page 5 of the Report, the $10,530,317.78 reflected in the Report and
 Fee Application is actually the total amount that had been recovered and deposited
 into the Receiver’s fiduciary account as of the close of the Reporting Period, before
 payment of those Court-approved administrative expenses.
                                              2
